     Case: 1:19-cv-06670 Document #: 16 Filed: 05/15/20 Page 1 of 2 PageID #:59




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PLUMBERS’ PENSION FUND, LOCAL 130, U.A.,                    )
PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.,                    )
THE TRUST FUND FOR APPRENTICE AND                           )
JOURNEYMAN EDUCATION AND TRAINING,                          )
LOCAL 130, U.A., PLUMBERS’ RETIREMENT                       )
SAVINGS PLAN FUND, LOCAL 130, U.A., and                     )
CHICAGO JOURNEYMEN PLUMBERS’ LOCAL                          )
UNION 130, U.A., GROUP LEGAL SERVICES PLAN                  )
FUND,                                                       )
                                                            )      Case No.: 19 CV 6670
                                                            )
                              Plaintiffs,                   )      Honorable Judge Pacold
                                                            )
       v.                                                   )      Magistrate Judge Cummings
                                                            )
STARR PLUMBING, INC,                                        )
                                                            )
                              Defendant.                    )

       Now come the Plaintiffs, by and through their attorneys, Gregorio ♦ Marco, pursuant to

the Court’s Third Amended General Order 20-0012, filing this status report:


                                       STATUS REPORT


       Procedural Posture: Defendant was served with a copy of the Summons and Complaint

       on November 27, 2019. This Court compelled Defendant to produce certain books and

       records so a fringe benefit audit could be completed. This Honorable Court entered a

       default pursuant to FRCP 55(a) against Defendant on January 23, 2020 for its failure to

       timely appear or otherwise plead. To date, Defendant has not retained or filed a

       responsive pleading. Plaintiffs intend to file a Motion for Default Judgment with the

       Court once it is allowable.

       a) Progress of Discovery: Discovery has not been issued in this matter as Defendant

            has failed to Answer or Otherwise Plead to the Complaint. The fringe benefit audit
      Case: 1:19-cv-06670 Document #: 16 Filed: 05/15/20 Page 2 of 2 PageID #:60




             has been completed and indicated contributions owed by the Defendant to the

             Plaintiff Trust Funds.

         b) Status of Briefing: There is no briefing schedule before this Court.

         c) Settlement Efforts: There have been no settlement discussions with the Defendant.

             The fringe benefit compliance audit and demand has been forwarded to Defendant’s

             corporate officer.

         d) Agreed Schedule: Plaintiffs will file their Motion for Default Judgment when

             directed and allowable by the Court.

         e) Discovery Schedule: Plaintiffs do not propose a new discovery schedule in this

             matter given the procedural posture.

         f) Agreed Action: Defendant has not retained counsel. There are no agreed matters

             between the parties at this time.

         g) Telephonic Hearing: Plaintiffs do not request a telephonic status at this time.


                                                 By: /s/ Michael J. McGuire
                                                        Michael J. McGuire
                                                        One of the attorneys for the Plaintiffs

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